         Case 1:18-cv-00892-RP Document 78 Filed 05/10/21 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION
Bonnie Olivares                              §
                                             §    CIVIL NO:
vs.                                          §    AU:18-CV-00892-RP
                                             §
Luling Care Nursing Operations, L.L.C.,      §
LULING CARE CENTER EMPLOYEE
SAFETY PROGRAM BENEFIT PLAN,
Employment Risk Systems, Inc., Luling Care
Center Nursing Operations, L.L.C.

                  ORDER CANCELLING BENCH TRIAL
        IT IS HEREBY ORDERED that the above entitled and numbered case having been set
for BENCH TRIAL on Monday, June 07, 2021 at 09:00 AM is hereby CANCELLED until
further order of the court.

       IT IS SO ORDERED this 10th day of May, 2021.




                                             ______________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
Case 1:18-cv-00892-RP Document 78 Filed 05/10/21 Page 2 of 2
